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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND


IN RE:                                           §
DEBORAH STAUDT                                   §
                                                            23-12890
                                                 § Case No. __________
                                                 §
                                                 §
         Debtor(s).                              §


               STATEMENT UNDER PENALTY OF PERJURY CONCERNING
             PAYMENT ADVICES DUE PURSUANT TO 11 U.S.C. §521(a)(1)(B)(iv)

           DEBORAH STAUDT
        I, _____________________________(Debtor’s        name1), state that I did not provide
copies of all payment advices or other evidence of payment received within 60 days before the
date of the filing of the petition, by me from any employer because:

         ✔
       _____ (1) I was not employed during the period immediately preceding the filing of the
                      01/01/2023 - 04/27/2023
above-referenced case _______________________     (state the dates that you were not employed);

       _____ (2) I was employed during the period immediately preceding the filing of the
above referenced case but did not receive any payment advices or other evidence of payment
from my
employer within 60 days before the filing of the petition;

         _____ (3) I am self employed and do not receive any evidence of payment;

         _____ (4) Other (please explain) _______________________________________.


        I declare under penalty of perjury that I have read the foregoing statements and that they
are true and accurate to the best of my knowledge, information and belief.

                    27
         Dated this _____         April
                          day of __________, 20___.
                                               23



                          /s/ Deborah Staudt
                          __________________________________________ (Signature of Debtor)
                                         Debtor




         1
             A separate form must be filed for each Debtor

Local Bankruptcy Form Q
